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                                                                                            U.S. Department of Justice

                                                                                           United States Auomey
                                                                                           Southern District of New York


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            By ECF and facsimHe
            The Honorable Colleen McMahon
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                                                                                           November 5, 2020

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            Chief United Stat.es District Judge               \ \ ~\                  ---                               l·V_1 \
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            Southern District of New York
            500 P~arl Street
            New York, New York 1.0007
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            Dcar Chief Judge McMahon:
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                    TI,is Office represents the government in the above-referenced action . On October 29,
            2020, the plaintiff filed a motion for attorney's fees and costs pursuant to the .Equal Access to
            Justice Act ("EAJA"). See .FCF No. 50. The government's deadline to file an opposition to that
            motion is cur.r.ently November I2, 2020. I write respectfully to request that the Court stay
            briefing on the EA.IA motion pending the Second Circuit's resolution of the separate foe
            application tiled in that court, for the reasons ex.plained bcl()w.

                   On October 29, 2020, the plaintiff filed EAJA fee motions in both this Court and in the
            Second Circuit. TI,e motion papers are identical in all material respectc;. Tn ther:n, the plaintiff
            has asserted his belief Lhal the Second Circuit should resolve several thrcshol<l kgal issues in U1c
            fast instance, which would "expedite proceedings, conserve judicial resources and make the
            most sense in light of the purely legal question presented[.]" The government agrees antl
            believes that it would be prudcnl for this Court to bold hrieting on the EAJA motion in abeyance
            pending the Second Circuit's resolution of EAJA motion before that court. Plaintiff's counsel
            has no objectio11 to th.is r.eque~t-

                    Jf the Court declines to hold briefing on the moLion in abeyance, the government
            respectfully requests that the Court grant the government a one-week extension of time, from
            November 12 to Novcmbcr 19, to file its opposition brief. This request is based on the press of
            business. Aside from my supervisory duties of reviewing other attorneys ' work in the
            Immigration Unit, I have a deadline on Monday to file the government's opposition to the .
            plaintiff's EAJA motion in the Second Circuit, a Rule 30(6)(6) deposition in another case that is
            expected to go forward at the e:n<l of next week, for which a great deal of my time will be spent
            preparing, and I also have an expedited deadline next 1:riday to file the government's opposition
            to a motion in a different case concerning a detained individual (and next week is a four-day
            week in light of the federal holiday on Wednesday). Thus, if the Court does not grant the
            government' s unopposed request to hold the briefing on the plaintiff's EAJA motion .in abeyance
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       pending the Second Circuit's resolullon of the EAJA motion hefore that court, the government
       respectfully requcsls that the Court grant a one-week extension of time to file it~ opposition.
       While plaintiff's counsel does not object to holding briefing in abt:y~mce as noted ahove, counsel
       does noL consent to this alternative request for an extension oftime. However, given the press of
       business noted above, if the Court does not hold briefing in abeyance, the government would
       need additional time to prepare its opposition lo the plaintiff's motion , and the government
       reasonably asks only for one additional week.

                Accordingly, the government respectfully requesLs that the Court stay briefing on the
       plaintiffs EAJA moti.on pending the Second Circuit's resolution of the separate fee application
       filed in Lhat court. And if the Court declines to hold the briefing in abeyance, the government
       requfsts, in the altcrnalivc, that the Court grant the government a one-week extension oftime to
       fjle its opposition , until November 19. This is the first request for an extension of time to
       respond to the plaintifr s .EAJA motion. And as noted, the plaintiff does not ohject to holding the
       briefing in abeyance pending a ruling by Lhc Second Circuit, hut the plaintiff would oppose Lhc
       government's alternative request for an extension of the Court declines to hold briefing in
       abeyance.

              I thank the Court for its consideration of this request.

                                                Respectfully,

                                                AUDREY STRAUSS
                                                Acting United States Attorney for the
                                                Southern District of New York

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        cc:      Jeffrey A. 1:einbloom, 1-:sq. (by ECF)
                 Counsel/or Plaintiff




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